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EXHIBIT 7 – CITED PAGES
 FROM DEPOSITION OF
    JULIE CHESTER
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 1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
 2                             EASTERN DIVISION
 3
 4             ALISON O’DONNELL
 5                             Plaintiff
                        vs .                          Case No. 1 : 16-cv-2450
 6                                                    Judge Donald E. Nugent
                UNIVERSITY HOSPITALS
 7              HEALTH SYSTEM, et al.
 8                             Defendants.
 9
10                        DEPOSITION OF JULIE A. CHESTER
                              Monday, August 7, 2017
11
12
13                      The deposition of JULIE A. CHESTER, a
14              witness,       called for examination by the
15              Plaintiff under the Federal Rules of Civil
16              Procedure, taken before me,                Diane M. Stevenson
17              a Registered Diplomate Reporter                   Certified
18              Realtime Reporter            and Notary Public in and for
19              the state of Ohio, pursuant to notice                      at The
20              Spitz Law Firm          25200 Chagrin Blvd., Suite 200
21              Beachwood, Ohio, commencing at 8:58 a.m.                         the
22              day and date above set forth.
23
24
                       Stevenson Reporting Service  Inc.
25                  2197 Macon Court   Westlake, Ohio 44145
                         440.892.8600 diane0nls.net
             Case: 1:16-cv-02480-DCN Doc #: 25-7 Filed: 11/16/17 3 of 3. PageID #: 384   98

         1              this was issued,         an end date to the leave of
         2              absence,     it would just, what              kind of be
         3              ongoing and monitored?
         4     A.       Correct and in case anything changed.
         5     Q.       I mean, did you have an expectation that she
         6              one day would no longer have this anxiety
         7              di s0rder      so she would be allowed to do
         8              everything that everybody else could do at
         9              these conferences?
11:38   10     A.       I didn't have an expectation.                   I   just

        11              obviously       wanted to put her on a leave of
        12              absence so she would continue her health care
        13              benefits,      and then, obviously,             if something did
        14              change with her medical condition then
        15              absolutely she could come back to the program.
        16     Q.       Did you go over this with Dr. O'Donnell or was
        17              it just sent to her?
        18     A.       I don't recall         if it was one-on-one or if it
        19              was sent in the mail.
11:39   20     Q.       Did Dr. O'Donnell and you ever have any
        21              conversations about this document or its
        22              contents as a follow-up?
        23     A.       I don't recall specific communications with
        24              Dr.   O'Donnell.

        25     Q.       Do you     recall    if she     ever    raised the issue to



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